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                       THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

SANDRA STASHER                                                                        PLAINTIFF

vs.                                                CIVIL ACTION No.: 3:21-cv-99-HTW-LGI

CITY OF JACKSON, MISSISSIPPI, and
CHIEF JAMES DAVIS, Individually and
In his Official Capacity                                                          DEFENDANTS


                                    ORDER OF DISMISSAL

        The parties having announced to the court that a settlement has been reached in this

matter, and the court being desirous that this case be finally closed on its active docket,

        ORDERS that this case is hereby dismissed, without prejudice, as to all parties. The

parties shall submit a Final Agreed Judgment within thirty (30) days of this Order.

        If any party fails to consummate this settlement within THIRTY (30) DAYS, any

aggrieved party may reopen the case for enforcement of the settlement agreement and, if

successful, all additional attorneys’ fees and costs from the date of this order shall be awarded

such aggrieved party or parties against the party failing to consummate the agreement. The

Court specifically retains jurisdiction to enforce the settlement agreement.


         SO ORDERED, this the 13th day of January, 2023.



                                                      /s/HENRY T. WINGATE
                                                      UNITED STATES DISTRICT JUDGE
